206 F.3d 725 (7th Cir. 2000)
    PUBLICIS COMMUNICATION,    Plaintiff-Counterclaim Defendant-AppellantandPUBLICIS S.A., a French corporation, Counterclaim Defendant-Appellant,v.TRUE NORTH COMMUNICATIONS INC., Defendant-Counterclaim Plaintiff-Appellee.
    Nos. 99-1199 &amp; 99-3424
    In the United States Court of Appeals  For the Seventh Circuit
    Argued February 14, 2000Decided March 14, 2000
    
      Appeals from the United States District Court  for the Northern District of Illinois, Eastern Division.  No. 97 C 8263--Joan B. Gottschall, Judge. [Copyrighted Material Omitted]
      Before BAUER, FLAUM, and EVANS, Circuit Judges.
      EVANS, Circuit Judge.
    
    
      1
      Arbitration can be an  effective way to resolve a dispute in less time,  at less expense, and with less rancor than  litigating in the courts. Arbitration loses some  of its luster, though, when one party refuses to  abide by the outcome and the courts are called in  after all for enforcement. This is one of those  situations.
    
    
      2
      A joint venture between two advertising  companies, Chicago-based True North  Communications Inc. and Paris-based Publicis  Communication (whose French corporate parent is  Publicis S.A.), that had begun in 1989 came apart  in May 1997. With one exception that is  irrelevant to this case,1 True North and  Publicis agreed to arbitrate any disputes arising  from their divorce before the London Court of  International Arbitration under the arbitration  rules of the United Nations Commission on  International Trade Law. Needless to say,  disagreements popped up, including whether  Publicis had to turn over tax records that True  North said it needed to file with the Internal  Revenue Service and the Securities and Exchange  Commission.
    
    
      3
      Danish attorney Allan Philip, French law  professor Alain Viandier, and former U.S.  Attorney General Nicholas Katzenbach were  appointed to handle the arbitration, with Philip  serving as chairman of the tribunal. In an  October 30, 1998, "order" signed by Philip "for  and on behalf of the Arbitrators," the tribunal  told Publicis to provide True North with the tax  information for 1994 to 1996 by November 23,  1998. When Publicis failed to comply, True North  went to the Northern District of Illinois to try  to confirm the arbitration decision, the first  step toward federal court enforcement of an  arbitration ruling. Judge Joan Gottschall  confirmed the arbitration ruling and later  rejected Publicis' Rule 60(b) motion to revisit  her decision.
    
    
      4
      We are tempted to throw out this case as moot.  True North has received from Publicis all the tax  records it wanted,2 a fact neither side  bothered to disclose to us until prompted by our  questions during the oral argument. As the  parties might be aware, deciding live disputes  keeps us busy enough and we feel no need to  moonlight by rendering advisory opinions.  Publicis insists, however, that although True  North now says it is satisfied, the case is not  moot because Publicis still has not turned over  all of the records literally called for by the  tribunal's broad order and thus still is not in  full compliancewith Judge Gottschall's ruling.  Given the history of bickering between these  litigants and the possibility they might find a  way to return to court another day if we brand  their current squabble moot, deciding this case  on the merits seems prudent.
    
    
      5
      In reviewing the district court's confirmation  of the arbitration decision, we review findings  of fact for clear error and decide questions of  law de novo. Geneva Sec., Inc. v. Johnson, 138  F.3d 688, 691 (7th Cir. 1998).
    
    
      6
      The Convention on the Recognition and  Enforcement of Foreign Arbitral Awards, commonly  known as the New York Convention and incorporated  into American law at 9 U.S.C. sec. 201 et seq.,  governs judicial confirmation of arbitration  decisions like this that arise out of agreements  between a U.S. citizen (True North) and a citizen  of a foreign nation such as France that signed  the convention (Publicis). "The court shall  confirm the award unless it finds one of the  grounds for refusal or deferral of recognition or  enforcement of the award specified in the said  Convention." 9 U.S.C. sec. 207. Article V(1)(e)  of the convention specifies several exceptions to  judicial enforcement, including awards that have  not yet become binding on the parties.
    
    
      7
      Publicis says the tribunal's decision was an  interim order and, under the convention, only  arbitral "awards" are final and subject to  confirmation. Publicis insists that until the  order was final, True North was confined to  seeking relief from the tribunal itself or the  courts of England, the site of the arbitration.  True North says the convention allows judicial  confirmation of final rulings, whether they are  termed "awards" or "orders," and insists that the  tribunal's October 30 opinion was final. Although  Publicis suggests that our ruling will cause the  international arbitration earth to quake and  mountains to crumble, resolving this case  actually requires determining only whether or not  this particular order by this particular  arbitration tribunal regarding these particular  tax records was final. If the arbitration  tribunal's October 30, 1998, decision was final,  then Judge Gottschall had the authority to  confirm it. If the arbitrators' decision was not  final, then the district court jumped the gun.
    
    
      8
      Publicis places great importance on the  difference between an award and an order. True  North requested an "award" from the arbitration  tribunal on the tax records issue, but the  tribunal called its decision an "order." The  arbitration rules the parties agreed upon refer  to final decisions as "awards." UNCITRAL  Arbitration Rules, Articles 31-37 (1977). The law  governing judicial enforcement of arbitral  decisions is called the United Nations Convention  on the Recognition and Enforcement of Foreign  Arbitral "Awards." 9 U.S.C. sec. 201. The  convention speaks only of recognizing and  enforcing an arbitral "award"; it does not refer  to an arbitral order or any other comparable  term. Commentators describe "awards" as final and  enforceable. See Alan Redfern &amp; Martin Hunter,  Law and Practice of International Commercial  Arbitration 360, (1991); Mauro Rubino-Sammartano,  International Arbitration Law 410 (1989); Douglas  D. Reichert, Provisional Remedies in the Context  of International Commercial Arbitration, 3 Int'l  Tax &amp; Bus. Lawyer 368, 395 (1986).
    
    
      9
      Publicis' position is that an arbitral ruling  can be final in every respect, but unless the  document bears the word "award" it is not final  and is unenforceable. This is extreme and  untenable formalism. The New York Convention, the  United Nations arbitration rules, and the  commentators' consistent use of the label "award"  when discussing final arbitral decisions does not  bestow transcendental significance on the term.  Their treatment of "award" as interchangeable  with final does not necessarily mean that  synonyms such as decision, opinion, order, or  ruling could not also be final. The content of a  decision-- not its nomenclature--determines  finality.
    
    
      10
      The Federal Arbitration Act also uses "award"  in conjunction with finality, 9 U.S.C. sec.sec.  9 and 10, but this circuit and others have found  arbitration decisions lacking the "award" tag to  be final. In Yasuda Fire &amp; Marine Insurance  Company of Europe v. Continental Casualty  Company, 37 F.3d 345 (7th Cir. 1994), we  considered whether "an interim order of security"  constituted a final award and thus was subject to  being judicially vacated under 9 U.S.C. sec.  10(a)(4). Because the order was necessary to  prevent the final award from becoming  meaningless, we decided that the order was final  and thus could be immediately challenged. 37 F.3d  at 347-48. Other decisions cited in Yasuda reach  similar results. See Pacific Reinsurance  Management Corp. v. Ohio Reinsurance Corp., 935  F.2d 1019, 1022-23 (9th Cir. 1991) (arbitral  "interim final order" providing temporary  equitable relief necessary to make potential  final award meaningful found to be final and  subject to confirmation); Island Creek Coal Sales  Co. v. City of Gainesville, 729 F.2d 1046, 1049  (6th Cir. 1984) (arbitral "interim order" that  finally and definitively disposed of separate,  discrete, self-contained issue found to be final  and subject to confirmation); Sperry Int'l Trade  v. Israel, 689 F.2d 301, 304 n.3 (2d Cir. 1982)  (appeals court itself did not consider, but noted  that district court found arbitral "award" that  was final as to severable issues was final and  subject to confirmation).
    
    
      11
      These cases show that although the Federal  Arbitration Act uses the word award in  conjunction with finality, courts go beyond a  document's heading and delve into its substance  and impact to determine whether the decision is  final. Publicis and True North's arbitration is  controlled by the New York Convention, not the  Federal Arbitration Act. But the New York  Convention supplements the Federal Arbitration  Act, and the logic of decisions applied to the  latter may guide the interpretation of the  former.
    
    
      12
      As to whether Publicis had to turn over to True  North tax records from 1994 to 1996, the  arbitration tribunal's October 30 order appears  final. The tribunal summarized True North's  position that its claim "is extremely urgent" and  Publicis' contention that "no urgency exists and  that the matter . . . may be decided . . .  together with the other claims." The tribunal  concluded that True North's claim "is well  founded," said that interim measures were  necessary, and directed Publicis to provide the  1994-1996 tax records to True North by November  23, 1998. Publicis argues that the deadline does  not make this decision any more final and  immediately enforceable than a discovery order  setting a specific date for compliance. This  analogy is inapt. Discovery involves compiling  information needed to reach a resolution; it is  an early step in moving toward the end result. In  the situation at hand, whether or not Publicis  had to turn over the tax records is the whole  ball of wax. The tribunal's order resolved the  dispute, or was supposed to, at any rate.  Producing the documents wasn't just some  procedural matter--it was the very issue True  North wanted arbitrated. The finality of the  tribunal's ruling is demonstrated by the  deadline. The tribunal explicitly carved out the  tax records issue for immediate action from the  bulk of the matters still pending, stating that  "[t]he delivery of the documents should not await  final confirmation in the Final Award." Requiring  the unrelated issues to be arbitrated to finality  before allowing True North to enforce a decision  the tribunal called urgent would defeat the  purpose of the tribunal's order. A ruling on a  discrete, time-sensitive issue may be final and  ripe for confirmation even though other claims  remain to be addressed by arbitrators.
    
    
      13
      Like its formalistic argument over the  difference between an award and an order,  Publicis fusses that the tribunal's October 30  decision cannot be final because it was signed  only by Philip. Under the United Nations  arbitration rules, final awards are supposed to  be signed by all three arbitratorsand, if not,  should explain any missing signature. UNCITRAL  Arbitration Rules, Article 32(4). This argument  goes nowhere. In the first place, the tribunal  chairman Philip signed the decision "for and on  behalf" of the other arbitrators. At Judge  Gottschall's prompting, arbitrators Viandier and  Katzenbach later signed off on the decision as  well.
    
    
      14
      A closely related argument gives us greater  pause. The boilerplate United Nations rules allow  the presiding arbitrator to decide procedural  matters on his own. UNCITRAL Arbitration Rules,  Article 31(2). The ground rules for this  arbitration made an exception: "The arbitrators  will consult on any procedural decision to be  made or any procedural directions to be given.  They may be signed by the Chairman alone."  Publicis says the "for and on behalf" language of  the October 30 order indicates that this was a  procedural decision on which Philip consulted the  others but which did not require Viandier's and  Katzenbach's signatures. True North says that  because the ground rules allow procedural  decisions to be signed by the chairman only, the  "for and on behalf" clause would be superfluous  if this decision were procedural, and therefore  the language signifies that this was a  substantive holding. Either interpretation seems  credible, which only confirms our belief that  finality should be judged by substance and  effect, not by superficial technicalities.
    
    
      15
      At the very least, Publicis says the  arbitration award was ambiguous and that instead  of confirming it Judge Gottschall should have  remanded it to the tribunal for clarification. In  the context of the Federal Arbitration Act, "[a]  district court should not interpret an ambiguous  arbitration award. If an award is unclear, the  court should send it back to the arbitrator for  clarification. When possible, however, a court  should avoid remanding a decision to the  arbitrator because of the interest in prompt and  final arbitration." Teamsters Local No. 579 v. B  &amp; M Transit, Inc., 882 F.2d 274, 278 (7th Cir.  1989) (citations omitted). Again using Federal  Arbitration Act case law as a guide, we think  Judge Gottschall legitimately found the  arbitrator's decision unambiguous. Sending the  matter back to the tribunal would have defeated  the swift resolution that True North sought and  that the arbitrators thought was justified.
    
    
      16
      Publicis also appeals Judge Gottschall's denial  of its Federal Rule of Civil Procedure 60(b)(2)  motion to reverse her ruling because of newly  discovered evidence that by due diligence could  not previously have been discovered. We review  the denial of such a motion for abuse of  discretion. Jones v. Lincoln Elec. Co., 188 F.3d  709, 735 (7th Cir. 1999). During her initial oral  ruling Judge Gottschall remarked that the  arbitration "panel has not--appears not to have  consulted the rules to do this . . . . It's  simply that they haven't done everything they  could do to make it totally incontrovertible  under the rules what they were intending."  Publicis' "newly discovered evidence" consists of  statements made by the arbitrators during a  subsequent February 1999 hearing that Publicis  contends demonstrate that the distinguished  tribunal did know what it was doing, had  consulted the rules, and believed that the term  "award" should be reserved for final decisions.  A party needs awfully good stuff to win a Rule  60(b)(2) motion. A few isolated comments culled  from over 500 pages of transcript from the  February 1999 hearing that might contradict an  off-the-cuff remark by the district court does  not suffice. Judge Gottschall's rumination about  the arbitrators not knowing the rules might well  have been mistaken, but it was a stray comment  made during a ruling from the bench and was not  the basis for her decision. Rather, Judge  Gottschall's conclusion that the tribunal's  October 30 order was final was grounded on the  decision's substantive intent to create immediate  action.
    
    
      17
      If the tribunal's decision wasn't final, if the  tribunal didn't really intend to finalize it  until eons later, if True North had towait to  enforce this urgent matter until all the other  issues were arbitrated to finality, then the  October 30 decision was a meaningless waste of  time. Despite some possible superficial technical  flaws, and despite its designation as an "order"  instead of an "award," the arbitration tribunal's  decision--as to this chunk of the case--was  final. And this is our final judgment.
    
    
      18
      AFFIRMED.
    
    
      
        Notes:
      
      
        1
         That exception was the issue in an earlier  decision, Publicis Communication v. True North  Communications Inc., 132 F.3d 363 (7th Cir.  1997).
      
      
        2
         True North's counsel said during oral argument:  "All of the records that we need for the tax  purposes for the '94 through '96 tax years have  been turned over and they were turned over within  the last 2 weeks . . . . We have got what we  wanted. The order did serve its purpose . . . .  In my judgment, your honor, nothing remains  because we have received the relief . . . that  the tribunal ordered and that Judge Gottschall  enforced."
      
    
    